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                               IN THE UNITED STATES DISTRICT COURT


                                      DISTRICT OF DELAWARE


LARRY MCREYNOLDS,                                *

       Plaintiff,                                *

-vs-                                             *    Case No:_ _ _''--'_-_3_5_8_----=-___


CAVALRY PORTFOLIO SERVICES,LLC                    *

       Defendant.                                 *

                                          COMPLAINT 




                                       JURISDICTION


Jurisdiction of this court arises under 28 U.S.C. 1331 and pursuant to 15 U.S.C. 1681 et seq,
and pursuant to 28 U.S.C. 1367 for pendent state law claims. This action arises out of
Defendant's violations of the Fair Credit Reporting Act., 15 U.S.C. 1681, et seq' ("FCRAI!)
This action arises out of Defendant's violations of the Fair Debt Collection Practices Act.,
15.S.C. 1692, et seq. ("FDCPA")




                                           PARTIES

Plaintiff, Larry Mcreynolds, is a natural person residing in the State of Georgia, His physical
address is 333 Denmark S1. Statesboro, Ga. 30458


Defendant Cavalry Portfolio Services, LLC, does business in Georgia And Delaware. The
Registered Address is The Corporation Trust Company. 1209 Orange S1. Wilmington, De
19801.


                                            VENUE 

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Venue is proper in this district because the acts and transactions occurred here, and the
Defendants transact business here.




                                               FACTS


In March 2011, after viewing Plaintiff's credit report. Plaintiff noticed a Inquiry listed by Cavalry 

Portfolio Services, LLC. Defendant Cavalry Portfolio Services, LLC accessed Plaintiffs 

TransUnion Credit Report in August 2010 without permission or permissible purpose. Defendant 

Cavalry Portfolio Services, LLC is a Collection Agency as defined. 



As a result of the Defendants activities or lack thereof the Plaintiff has suffered loss of self­

esteem and peace of mind, and has suffered emotional distress, humiliation and 

embarrassment, and defamation of Credit. 



The acts and omissions of the Defendants and its representatives, employees and or agents 

constitute numerous and multiple violations of the FCRA. 



All actions taken by employees, agents, servants, or representatives of any type for 

Defendant were taken in the line and scope of such individuals' (or entities') 

employment, agency, or representation. 



Defendants' actions - engaging in a pattern and practice of wrongful and unlawful behavior, i.e. 

reporting false and inaccurate information - were malicious, wanton, 

reckless, intentional or willful, and performed with the desire to harm Plaintiff, with the 

knowledge that their actions would very likely harm Plaintiff, and that their actions were taken in 

violation of the Violation of Pintos Vs Pacific Creditors Association U.S.C1681 B (a) (3) A. 



The actions, omissions, misrepresentations, and violations of the FCRA, federal law, and state 

law by Defendants, regarding the Plaintiff's disputed account, as described herein, constitute 

harassment which has resulted in the negligent and intentional infliction of mental and emotional 

distress upon Plaintiff proximately causing Plaintiff to suffer severe mental distress, mental and 

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physical pain, embarrassment, and humiliation of which Plaintiff will in the future continue to
suffer.


                                              FDCPA


Plaintiff incorporates by reference all previous paragraphs.


In the entire course of their actions, Defendant willfully and/or negligently violated
multiple provisions of the FDCPA in one or more respects.


The foregoing acts and omissions were undertaken by Defendant willfully, intentionally,
and knowingly as part of their routine debt collection business and/or in gross reckless
disregard for the Plaintiffs rights.




                                            FCRACLAIMS




Plaintiff incorporates by reference all previous paragraphs.


In the entire course of their actions, Defendant willfully and/or negligently violated
multiple provisions of the FCRA in one or more of the following respects:




a. By willfully and/or negligently failing to comport with reinvestigation procedures
listed by the FCRA


Taking illegal actions against Plaintiffs
b. Refusing to properly update Plaintiffs' accounts;
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c. Failing to show the accounts as being "disputed" by Plaintiffs; and
d. Reporting the invalid debt on Plaintiffs' credit reports.


The foregoing acts and omissions were undertaken by Defendant willfully, intentionally,
and knowingly as part of their routine debt collection business and/or in gross reckless
disregard for Plaintiffs' rights.


As a result of the above violations of the FCRA, Defendant is liable to Plaintiff for a
declaratory judgment that their conduct violated the FCRA, and Plaintiffs' actual
damages, statutory damages, and punitive damages.




                       NEGLIGENT, RECKLESS AND WANTON CONDUCT


Plaintiff incorporates herein by reference paragraphs all previous paragraphs.


Defendant's acts, as described herein, were done so negligently and without care or
concern for the well-being of the Plaintiff.


As a proximate consequence of the defendant's negligence, Plaintiff has been caused to
suffer severe emotional and mental distress, and Defendant is liable to Plaintiff for
actual, compensatory, and punitive damages, costs, and any other and further relief deemed
appropriate by this Court.




                                           HARASSMENT


Plaintiffs incorporate by reference all previous paragraphs
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Defendants' acts, as described herein, were done so intentionally, maliciously, and
willfully, and without care or concern for Plaintiffs well being. The Defendant's harassing
collection tactics, and/or refusal to assure the accuracy of the information published
regarding the Plaintiff, created a hostile environment for Plaintiff.


As a proximate consequence of the Defendant's harassment, Plaintiff has been caused to
suffer severe emotional and mental distress, and Defendant is liable to Plaintiffs for
actual, compensatory, and punitive damages, costs and any other further relief deemed
appropriate by this Court.




                                       INVASION OF PRIVACY


Plaintiffs incorporate by reference all previous paragraphs.


Defendant's conduct, as described herein, constitutes an invasion of Plaintiffs' privacy in
that it intrudes into Plaintiff private life, publishes private facts regarding Plaintiffs, and
places Plaintiff in a false light in the eyes of those to whom the publications are made.


Defendant's actions were done maliciously, without privilege, and with a willful intent to
injure Plaintiff.


As a proximate consequence of the Defendant's' invasion of Plaintiffs privacy, Plaintiff
has been caused to suffer severe emotional and mental distress, and the Defendants is
liable to Plaintiff for actual, compensatory, and punitive damages, costs and any other and
further relief deemed appropriate by this Court.


                                            DEFAMATION


Plaintiffs incorporate by reference herein all previous paragraphs


Defendants published false information about Plaintiff by reporting to one or more of
the CRAs, or other third parties, namely failing to notate the disputed nature of the account.
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Likewise, Defendants published false information about Plaintiff each time Plaintiff's
credit report was accessed - which was the result intended by Defendant.


The publications and defamations were done maliciously, without privilege, and with a
willful intent to injure the Plaintiff.


As a proximate consequence of Defendants' false reporting or publishing, Plaintiffs has
been caused to suffer severe emotional and mental distress, and Defendants are liable to
Plaintiffs for actual, compensatory, and punitive damages, costs and any other and further relief
deemed appropriate by this Court.




                                 INTENTIONAL MISREPRESENTATION




Plaintiffs incorporate by reference all previous paragraphs.


Defendants intentionally, maliciously, recklessly and/or negligently misrepresented
material facts in that they falsely represented to others that Plaintiff is a deadbeat and does not
dispute the aforementioned accounts.


Defendants intend that those who review the credit reports of the Plaintiff will rely upon the
misrepresentations and suppressions of material fact related to the mentioned accounts.


Defendant's intended that the justifiable and reasonable reliance by others would
adversely affect the Plaintiff.


As a proximate consequence the Defendants' intentional misrepresentation, Plaintiff has
been caused to suffer severe emotional and mental distress, and Defendants are liable to
Plaintiff for actual, compensatory, and punitive damages, costs and any other and further relief
deemed appropriate by this Court
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                                      PRAYER FOR RELIEF 



WHEREFORE, Plaintiff respectfully requests that judgment be entered against the Defendant
for the following:


(a) Actual damages.
(b) Statutory damages
(c) Costs and reasonable fees
(d) Punitive damages
(e) For such other relief as the court may deem just and proper.




Larry Mcreynolds/Pro Se:
333 Denmark St.
Statesboro, Ga. 30458



'9 ~ry~JJ..-
                                   DEMAND FOR JURY TRIAL


Please take note that Plaintiff demands trial by jury in this action.


Date:   ~ (r (,III
Signature~ H&1-(J ~
                                            VERIFICATION
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I, Larry Mcreynolds, do declare under penalty of perjury as delineated in 28 USC 1746 that the
information contained herein is true and correct to the best of my knowledge. Executed this16th
day of April, 2011 in the State of Georgia, City of Statesboro

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